Case 2:19-mj-00652-SIL Document 1 Filed 07/18/19 Page 1 of 10 PageID #: 1
Case 2:19-mj-00652-SIL Document 1 Filed 07/18/19 Page 2 of 10 PageID #: 2
Case 2:19-mj-00652-SIL Document 1 Filed 07/18/19 Page 3 of 10 PageID #: 3
Case 2:19-mj-00652-SIL Document 1 Filed 07/18/19 Page 4 of 10 PageID #: 4
Case 2:19-mj-00652-SIL Document 1 Filed 07/18/19 Page 5 of 10 PageID #: 5
Case 2:19-mj-00652-SIL Document 1 Filed 07/18/19 Page 6 of 10 PageID #: 6
Case 2:19-mj-00652-SIL Document 1 Filed 07/18/19 Page 7 of 10 PageID #: 7
Case 2:19-mj-00652-SIL Document 1 Filed 07/18/19 Page 8 of 10 PageID #: 8




             /s/: Steven I. Locke
Case 2:19-mj-00652-SIL Document 1 Filed 07/18/19 Page 9 of 10 PageID #: 9
Case 2:19-mj-00652-SIL Document 1 Filed 07/18/19 Page 10 of 10 PageID #: 10
